                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                 AT KNOXVILLE


  UNITED STATES OF AMERICA                         )
                                                   )
  v.                                               )           NO. 3:19-CR-75-9
                                                   )
  MICHAEL HINES                                    )
                                                   )



                                           ORDER

         Magistrate Judge C. Clifford Shirley, Jr. filed a report and recommendation,

  recommending that the Court: (1) find that the plea hearing in this case could not be further

  delayed without serious harm to the interests of justice; (2) grant Defendant’s motion to

  withdraw his not guilty plea to Count One of the Indictment; (3) accept Defendant’s plea

  of guilty to the lesser included offense in Count One of the Indictment, that is, conspiracy

  to distribute and possession with intent to distribute a quantity of cocaine, a Schedule II

  controlled substance, in violation of 12 U.S.C. §§ 846 and 841(a)(1); (4) adjudicate

  Defendant guilty of the charge in the lesser included offense set forth in Count One of the

  Indictment; and (5) find that Defendant remain in custody until sentencing in this matter.

  Neither party filed a timely objection to the report and recommendation. After reviewing

  the record, the Court agrees with the magistrate judge’s report and recommendation.

  Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and

  recommendation (Doc. 348) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:



                                               1

Case 3:19-cr-00075-HSM-DCP Document 382 Filed 11/04/20 Page 1 of 2 PageID #: 2138
         (1)    As set forth on the record, Defendant’s plea hearing could not be further

  delayed without serious harm to the interests of justice;

         (2)    Defendant’s motion to withdraw his not guilty plea to Count One of the

  Indictment is GRANTED;

         (3)    Defendant’s plea of guilty to the lesser included offense of Count One of the

  Indictment, that is, conspiracy to distribute and possession with intent to distribute a

  quantity of cocaine, a Schedule II controlled substance, in violation of 12 U.S.C. §§ 846

  and 841(a)(1), is ACCEPTED;

         (4)    Defendant is hereby ADJUDGED guilty of the lesser included offense

  charges set forth in Count One of the Indictment;

         (5)    Defendant SHALL REMAIN in custody until sentencing in this matter,

  which is scheduled to take place on January 14, 2021 at 11 a.m. before the Honorable

  Harry S. Mattice, Senior United States District Judge.

         SO ORDERED.

                                            /s/  Harry S. Mattice Jr. _________________
                                            HARRY S. MATTICE, JR
                                            SENIOR UNITED STATES DISTRICT JUDGE
                                            November 4, 2020




                                               2

Case 3:19-cr-00075-HSM-DCP Document 382 Filed 11/04/20 Page 2 of 2 PageID #: 2139
